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 12
 13                        UNITED STATES DISTRICT COURT
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
 14
 15
         NST GLOBAL, LLC, d/b/a SB
 16
         TACTICAL,
 17                                               Case No.
                            Plaintiff,
 18
                                                  PLAINTIFF NST GLOBAL, LLC,
 19      v.                                       d/b/a SB TACTICAL’S
                                                  COMPLAINT AND DEMAND FOR
 20
         STRIKE INDUSTRIES; and                   JURY TRIAL
 21      GARRETT KELLER, an
         individual,
 22
 23                         Defendants.
 24
 25           Plaintiff, NST Global, LLC d/b/a SB Tactical (“SB Tactical”), hereby alleges
 26
      the following against Defendants Strike Industries (“Strike”) and Garrett Keller, an
 27
      individual (“Keller”, collectively “Defendants”):
 28
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  1                                NATURE OF THE ACTION
  2
              This is an action for patent infringement under the patent laws of the United
  3
  4
      States, Title 35, United States Code.

  5                               JURISDICTION AND VENUE
  6
         1.    This Court has subject matter jurisdiction under 28 U.S.C. §§ 1331 and
  7
  8 1338(a) (federal question) for claims involving the infringement of patents.
  9      2.    This Court has personal jurisdiction over the Defendants for the following
 10
      reasons:
 11
 12              a. the Defendants have committed and continue to commit acts of

 13                 infringement and placed goods related to the claims below into the
 14
                    stream of commerce in the State of California, including this District;
 15
 16              b. Defendants reside in this District;

 17              c. Strike’s principal place of business is in this District; and
 18
                 d. the acts of Defendants have caused injury to SB Tactical in this District.
 19
 20      3.    Venue is proper within this District under 28 U.S.C. §§ 1391(b) and1400(b)

 21 for the following reasons:
 22
                 a. Strike’s principal place of business is in this District;
 23
 24              b. Defendants reside in this District;
 25              c. Defendants have committed and continue to commit acts of infringement
 26
                    within this District; and
 27
 28              d. A substantial part of the events giving rise to SB Tactical’s claims


                                                   2
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  1               occurred in this District.
  2
                                           PARTIES
  3
  4
         4.   SB Tactical is a Florida limited liability company with its principal place of

  5 business at 1225 Darlington Oak Circle NE, St. Petersburg, Florida 33703.
  6
         5.   Strike is a California domestic stock corporation with its principal place of
  7
  8 business at 2842 S Fairview Street, Santa Ana, California 92704.
  9      6.   On information and belief, Keller is a resident of Santa Ana, California.
 10
         7.   On information and belief, Keller is the Chief Executive Officer of Strike.
 11
 12      8.   On information and belief, Keller oversaw or directed the activities of Strike

 13 complained of herein.
 14
                                  GENERAL ALLEGATIONS
 15
 16      9.   SB Tactical is a designer and seller of firearm accessories. As a result of its

 17 significant investment in research and development, SB Tactical has developed
 18
      innovative technologies that have greatly impacted the firearm accessory industry.
 19
                                                          ®
 20 One such technology is SB Tactical’s Stabilizing Brace branded pistol stabilizers
 21 that are used in connection with certain pistols to aid a shooter in supporting a pistol
 22
      by the shooter’s forearm.
 23
 24      10. SB Tactical has protected its innovative designs and technologies through a
 25 broad range of intellectual property rights, including utility and design patents. One
 26
      such utility patent is United States Patent Number 9,354,021 (“the ‘021 Patent”),
 27
 28 which duly and legally issued by the United States Patent and Trademark Office on


                                                3
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  1 May 31, 2016, and names Alessandro Bosco as the inventor. The ‘021 Patent covers
  2
      many functions found in stabilizers. A true and correct copy of the ‘021 Patent is
  3
  4
      attached as Exhibit A and incorporated herein by reference.

  5      11. The Stabilizing Brace claimed in the ‘021 Patent attaches to the rear of a
  6
      handgun so that the handgun may be secured to a user’s forearm, via a strap, thereby
  7
  8 stabilizing the handgun and improving the user’s ability to accurately and safely use
  9 the handgun with one hand.
 10
         12. The ‘021 Patent has a total of 5 claims.
 11
 12      13. Independent Claim 1 of the ‘021 Patent is representative and claims:

 13              A forearm-gripping stabilizing attachment for a handgun, the
 14              handgun having a support structure extending rearwardly from the
                 rear end of the handgun, the forearm-gripping stabilizing
 15              attachment, comprising:
 16
                 a body having a front end, a rear end, an upper portion, a lower
 17              portion, and a passage longitudinally extending within said upper
 18              portion and at least through said front end of said body, the support
                 structure of the handgun being telescopically receivable by said
 19              passage;
 20
                 said lower portion having at least one flap extending from said upper
 21              portion;
 22
                 a strap connected to said body, said strap securing said at least one
 23              flap to a user’s forearm when the stabilizing attachment is secured
 24              to a user’s forearm; and
 25              wherein said passage extends entirely through said body between
 26              said front end and said rear end of said body.
 27      14. SB Tactical is the owner of the full right, title, and interest to the ‘021 Patent.
 28


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  1      15. On information and belief, Defendants have and continue to infringe the ‘021
  2
      Patent by making or having made, manufacturing or having manufactured, importing,
  3
  4
      using, selling, or offering to sell Strike’s MPX/MCX Stabilizer (“MPX Stabilizer”),

  5 Viper PDW Stabilizer (“PDW Stabilizer”), and Viper AR Stabilizer (“AR Stabilizer”)
  6
      in competition with SB Tactical. The MPX Stabilizer, PDW Stabilizer, and AR
  7
  8 Stabilizer will be collectively referred to as the “Accused Products”.
  9      16. On information and belief, Defendants market and/or sell the Accused
 10
      Products throughout the United States, including the state of California, through their
 11
 12 business partners and various retailers, including through retail stores, trade shows,
 13 company website, company social media, and retail websites.
 14
         17. On information and belief, Defendants have been and are inducing
 15
 16 infringement of the ‘021 Patent by actively and knowingly inducing others to make,
 17 use, sell, offer for sale, or import Accused Products that embody or use the inventions
 18
      claimed in the ‘021 Patent.
 19
 20      18. On information and belief, Defendants have been and are continuing to

 21 contributorily infringe the ‘021 Patent by selling or offering to sell the Accused
 22
      Products knowing them to be especially made or especially adapted for practicing the
 23
 24 invention of the ‘021 Patent and not a staple article or commodity of commerce
 25 suitable for substantial non-infringing use.
 26
         19. On September 13, 2017, Defendants received from the Bureau of Alcohol,
 27
 28 Tobacco, Firearms and Explosives (“BATFE”) correspondence related to whether


                                                5
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  1 attaching the Accused Products “to an AR-type or other variant pistol would cause
  2
      the pistol to be classified as a ‘rifle’ and thus a firearm subject to regulation by the
  3
  4
      National Firearms Act (NFA), specifically, 26 U.S.C. § 5845(a)” (the “BATFE

  5 Letter”). A true and correct copy of the BATFE Letter is attached as Exhibit B.
  6
         20. Based on the description provided to the BATFE by Defendants, the Accused
  7
  8 Products were described as comprised of three major components: 1. Stabilizer that
  9 is designed to be attached to an AR-type pistol (or variant) extension or “buffer” tube;
 10
      2. Velcro hook fastener surface attached to stabilizer; and 3. Arm cuff that adheres to
 11
 12 the Velcro hook fastener surface on the stabilizer.
 13      21. The following photograph was included as a depiction of the Accused
 14
      Products submitted to the BATFE:
 15
 16
 17
 18
 19
 20
 21
 22
 23      22. The intended use of the Accused Products provided to the BATFE was “for
 24 the user to wear the arm cuff on the operator's arm, using hook and loop fasteners to
 25
      securely fit the cuff. The stabilizer will use the fixed “hook” surface to attach to the
 26
 27 arm cuff’s loop surface. This allows the pistol to be more safely operated with one
 28


                                                 6
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  1 hand as the cuff can be positioned in multiple positions and can be adjusted for
  2
      tension. Additionally, the hook and loop system allows the firearm to be lowered from
  3
  4
      a ready position through its ability to readily disengage from the arm cuff while

  5 maintaining safe muzzle direction.”
  6
         23. Further, Defendants description of the Accused Products to the BATFE stated
  7
  8 “that it is intended to increase safety, stability, and control during one-handed
  9 operation of AR-type pistols and is neither designed, nor intended for a user to fire a
 10
      pistol from the shoulder.”
 11
 12      24. The following photographs were included as a depiction of the intended use

 13 of the Accused Products submitted to the BATFE:
 14
 15
 16
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                                               7
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  1      25. The BATFE Letter described that the Accused Products are accessory
  2
      attachments “designed to enhance the stability of a pistol by attaching to the operator’s
  3
  4
      forearm.”

  5      26. The BATFE Letter notified Defendants that the Accused Products would not
  6
      “convert that weapon to be fired from the shoulder and would not alter the
  7
  8 classification of the pistol. While a pistol so equipped would still be regulated by the
  9 GCA, it would not create a ‘firearm’ as defined by the NFA provided the stabilizer is
 10
      used as originally designed and intended, and not used as a shoulder stock.”
 11
 12      27. On or about September 29, 2017, less than three weeks after receiving the

 13 BATFE Letter, Defendants began marketing the Accused Products through social
 14
      media.
 15
 16      28. On or about January 17, 2018, SB Tactical sent correspondence to Defendants

 17 including a claim chart detailing the physical features of the AR Stabilizer that
 18
      infringe each and every element of at least each independent claim of the ‘021 Patent
 19
 20 (the “January 2018 Correspondence”). A true and correct copy of the January 2018
 21 Correspondence is attached as Exhibit C.
 22
         29. Between January 23, 2018 and January 26, 2018, Defendants advertised,
 23
 24 marketed, and demonstrated the Accused Products at the popular firearms tradeshow
 25 called SHOT Show.
 26
         30. On or about May 09, 2018 Defendants posted photographs of the Accused
 27
 28 Products purported to be the design of the PDW Stabilizer that was approved for mass


                                                 8
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  1 production.
  2
         31. On or about June 22, 2018, SB Tactical sent correspondence to Defendants
  3
  4
      including a claim chart detailing the physical features of the MPX Stabilizer and the

  5 PDW Stabilizer that infringe each and every element of at least independent claim 1
  6
      of the ‘021 Patent (the “June 2018 Correspondence”). A true and correct copy of the
  7
  8 June 2018 Correspondence is attached as Exhibit D.
  9      32. Between July 26, 2018 and July 29, 2018, Defendants advertised, marketed,
 10
      and demonstrated the Accused Products at the popular firearms tradeshow Triggrcon.
 11
 12      33. On or about July 31, 2018, Defendants offered the MPX Stabilizer for sale on

 13 their website.
 14
         34. SB Tactical marks its stabilizer products with the patent number for the ‘021
 15
 16 Patent in compliance with the Patent statutes.
 17      35. Defendant knew of the existence of the ‘021 Patent at least as early as its
 18
      receipt of the January 2018 Letter.
 19
 20      36. Defendants’ acts of infringement have been willful and in disregard for the

 21 ‘021 Patent, without any reasonable basis for believing that Defendants had a right to
 22
      engage in the infringing conduct.
 23
 24      37. SB Tactical is damaged as result of the infringement at least through loss of
 25 income from sales, loss of reasonable royalty, damage to reputation, and costs
 26
      incurred through the enforcement of the ‘021 Patent.
 27
 28                             FIRST CLAIM FOR RELIEF


                                               9
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   1                 (Infringement of the ‘021 Patent – 35 U.S.C. § 271(a))
   2
          38. SB Tactical realleges the averments found in Paragraphs 1 through 37 and
   3
   4
       incorporates them by reference herein.

   5      39. Upon information and belief, Defendants have been and are infringing the
   6
       ‘021 Patent by making and using in the United States, or importing into the United
   7
   8 States, including within this judicial district, the Accused Products, in violation of 35
   9 U.S.C. § 271(a).
  10
          40. Defendants have displayed the Accused Products attached to firearms on
  11
  12 social media and at various firearm trade shows.
  13      41. Use of the Accused Products positioned on firearms by Defendants directly
  14
       infringes the ‘021 Patent.
  15
  16      42. Defendants’ infringement has been and continues to be knowing, intentional,

  17 and willful, evidenced by the January 2018 Correspondence and the June 2018
  18
       Correspondence.
  19
  20      43. Defendants’ acts of infringement of the ‘021 Patent have caused and will

  21 continue to cause damages for which SB Tactical is entitled to compensation pursuant
  22
       to 35 U.S.C. § 284.
  23
  24      44. Defendants’ acts of infringement of the ‘021 Patent have caused and will
  25 continue to cause immediate and irreparable harm unless such infringing activities are
  26
       enjoined by this Court 35 U.S.C. § 283. SB Tactical has no adequate remedy at law.
  27
  28      45. This case is exceptional, and thus, SB Tactical is entitled to an award of


                                                10
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   1 attorneys’ fees pursuant to 35 U.S.C. § 285.
   2
                                SECOND CLAIM FOR RELIEF
   3
   4
                  (Induced Infringement of the ‘021 Patent – 35 U.S.C. § 271(b))

   5      46. SB Tactical realleges the averments found in Paragraphs 1 through 37 and
   6
       incorporates them by reference herein.
   7
   8      47. Upon information and belief, Defendants have been inducing the

   9 infringement of the ‘021 Patent by actively and knowingly inducing others to make,
  10
       use, sell, offer for sale, or import the Accused Products that embody or use the
  11
  12 invention claimed in the ‘021 Patent in violation of 35 U.S.C. § 271(b).
  13      48. Defendants sell the Accused Product for use when attached to the rear of a
  14
       firearm.
  15
  16      49. Defendants state in the description of the Accused Products that the Accused

  17 Products provide support using hook and loop surfaces on either side of the fin for a
  18
       user-supplied Velcro forearm strap.
  19
  20      50. When attached to the rear of a firearm, the only element not present in the

  21 Accused Products as sold and distributed by Defendants is the strap.
  22
          51. Defendants advise that users add a strap using the hook and loop fastener
  23
  24 system provided with each Accused Product.
  25      52. Defendants anticipate that users will add a strap using the hook and loop
  26
       fastener system provided with each Accused Product.
  27
  28      53. Some of Defendants’ retailers sell the Accused Products to users together with


                                                11
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   1 a strap.
   2
         54. The BATFE Letter describes use of the Accused Product with a strap as the
   3
   4
       intended and legal use of the Accused Product, based on the representations by

   5 Defendants.
   6
         55. Induced infringement by Defendants has been and continues to be knowing,
   7
   8 intentional, and willful, evidenced by the January 2018 Correspondence and the June
   9 2018 Correspondence.
  10
         56. Defendants’ acts of infringement of the ‘021 Patent have caused and will
  11
  12 continue to cause damages for which SB Tactical is entitled to compensation pursuant
  13 to 35 U.S.C. § 284.
  14
         57. Defendants’ acts of infringement of the ‘021 Patent have caused and will
  15
  16 continue to cause immediate and irreparable harm unless such infringing activities are
  17 enjoined by this Court 35 U.S.C. § 283. SB Tactical has no adequate remedy at law.
  18
         58. This case is exceptional, and thus, SB Tactical is entitled to an award of
  19
  20 attorneys’ fees pursuant to 35 U.S.C. § 285.
  21                            THIRD CLAIM FOR RELIEF
  22
             (Contributory Infringement of the ‘021 Patent – 35 U.S.C. § 271(c))
  23
  24     59. SB Tactical realleges the averments found in Paragraphs 1 through 37 and
  25 incorporates them by reference herein.
  26
         60. Upon information and belief, Defendants have been and are contributing to
  27
  28 the infringement of the ‘021 Patent by selling or offering to sell the Accused Products,


                                                12
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   1 knowing them to be especially made or especially adapted for practicing the invention
   2
       of the ‘021 Patent and not a staple article or commodity of commerce suitable for
   3
   4
       substantial non-infringing use, in violation of 35 U.S.C. § 271(c).

   5      61. Defendant’s sell the Accused Product for use when attached to the rear of a
   6
       firearm.
   7
   8      62. When attached to the rear of a firearm, the only element not present in the

   9 Accused Products as sold and distributed by Defendants is the strap.
  10
          63. Defendants advise and anticipate that users will add a strap using the hook
  11
  12 and loop fastener system provided with each Accused Product.
  13      64. Some of Defendants’ retailers sell the Accused Products to users together with
  14
       a strap.
  15
  16      65. The BATFE Letter describes use of the Accused Product with a strap as the

  17 intended and legal use of the Accused Product, based on the representations by
  18
       Defendants.
  19
  20      66. Upon information and belief, users of the Accused Product use it attached to

  21 the rear of a firearm and with the use of a strap as that is the intended and legal use of
  22
       the Accused Product as stated in the BATFE Letter.
  23
  24      67. Infringement by Defendants has been and continues to be knowing,
  25 intentional, and willful, evidenced by the January 2018 Correspondence and the June
  26
       2018 Correspondence.
  27
  28      68. Defendants’ acts of infringement of the ‘021 Patent have caused and will


                                                 13
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   1 continue to cause damages for which SB Tactical is entitled to compensation pursuant
   2
       to 35 U.S.C. § 284.
   3
   4
          69. Defendants’ acts of infringement of the ‘021 Patent have caused and will

   5 continue to cause immediate and irreparable harm unless such infringing activities are
   6
       enjoined by this Court 35 U.S.C. § 283. SB Tactical has no adequate remedy at law.
   7
   8      70. This case is exceptional, and thus, SB Tactical is entitled to an award of

   9 attorneys’ fees pursuant to 35 U.S.C. § 285.
  10
  11
  12      WHEREFORE, SB Tactical respectfully requests judgment against the

  13 Defendants as follows:
  14
                a. Adjudging that Defendant has infringed, actively induced infringement
  15
  16               of, and contributorily infringed the ‘021 Patent, in violation of 35 U.S.C.

  17               § 271(a), (b), and (c);
  18
                b. Ordering Defendants to account for and pay damages adequate to
  19
  20               compensate SB Tactical for Defendant's infringement of the ‘021 Patent,

  21               including for any infringing acts not presented at trial, and pre-judgment
  22
                   and post-judgment interest and costs, pursuant to 35 U.S.C. § 284;
  23
  24            c. Ordering an accounting for any infringing sales not presented at trial and
  25               an award by the court of additional damages for any such infringing
  26
                   sales;
  27
  28            d. Ordering that the damages award be increased up to three times the actual


                                                14
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   1                 amount assessed, pursuant to 35 U.S.C. § 284;
   2
                  e. Granting an injunction permanently enjoining Defendants, their
   3
   4
                     employees, agents, officers, directors, attorneys, successors, affiliates,

   5                 subsidiaries and assigns, and all of those in active concert and
   6
                     participation with any of the foregoing persons or entities from
   7
   8                 infringing, contributing to the infringement of, or inducing infringement

   9                 of the ‘021 Patent injunction; and
  10
                  f. Declaring this case exceptional and awarding SB Tactical its reasonable
  11
  12                 attorney’s fees pursuant to 35 U.S.C. § 285;

  13              g. Awarding such other and further relief as this Court deems just and
  14
                     proper.
  15
  16                               DEMAND FOR JURY TRIAL

  17           Plaintiff, SB Tactical, demands a trial by jury of all issues properly triable by a
  18
       jury.
  19
  20       Dated: September 13, 2018

  21                                                Respectfully submitted,
  22
                                                   s/ Samuel E. Cooley /        /
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  24                                               COOLEY LEGAL
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  27
  28                                               -and-


                                                   15
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   2
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                                           Counsel for Plaintiff NST Global, LLC
  10
                                                       d/b/a SB Tactical
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